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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 ECHOSPAN, INC.,

              Plaintiff,
       v.                                          CIVIL ACTION NO.
                                                   1:21-cv-04318-JPB
 MEDALLIA, INC.,

              Defendant.

                                       ORDER
      Before the Court is Defendant Medallia, Inc.’s (“Medallia”) Motion to

Transfer Venue (“Motion”). ECF No. 13. Having reviewed and fully considered

the papers filed therewith, the Court finds as follows:

      I.     BACKGROUND

      Plaintiff EchoSpan, Inc. (“EchoSpan”) filed suit against Medallia alleging

that Medallia misappropriated EchoSpan’s confidential information relating to its

Feedback Tool. The Complaint asserts that Medallia obtained the information

during its trial use of the tool (the “Trial Period”) and after the parties began

acquisition talks under a non-disclosure agreement (the “NDA Period”). EchoSpan

contends that Medallia used the confidential information to produce a competing

product that it then used to solicit EchoSpan’s customers. The Complaint alleges
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numerous causes of action, including breach of contract, tortious interference with

business relationships, fraud, unfair trade and trade secret misappropriation.

       In the instant Motion, Medallia seeks transfer of the case to the Northern

District of California (San Jose Division), pursuant to 28 U.S.C. § 1404(a).

Medallia’s Motion is based on a forum selection clause in the parties’ Mutual Non-

Disclosure Agreement (“NDA”).

       The NDA was executed after the Trial Period ended and at the beginning of

the NDA Period, and it sets forth terms governing the parties’ use of “Confidential

Information.” The NDA defines Confidential Information as

       information relating to the Discloser’s business, including, without
       limitation, product designs, product plans, software and technology,
       financial information, marketing plans, business opportunities, pricing
       information, discounts, inventions and know how to the extent
       disclosed to the Recipient hereunder. Confidential Information also
       includes the terms and conditions of this Agreement and the existence
       of the discussions between the parties.

ECF No. 14-2 at 2, ¶ 1.

       The NDA also provides that

       [u]nless waived by Medallia in its sole discretion, the jurisdiction and
       venue for any action arising out of or relating to the subject matter of
       this Agreement shall be the California state and United States federal
       courts serving Santa Clara County, California, and both parties hereby
       submit to the personal jurisdiction of such courts.

Id. ¶ 13.



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      Additionally, the NDA contains a merger clause, which states that the

agreement “supersedes all prior discussions and writings and constitutes the entire

agreement between the parties with respect to the subject matter hereof.” Id.

      Medallia argues that this case must be transferred because Atlantic Marine

Construction Co., Inc. v. United States District Court requires the Court to give

controlling weight to the California forum selection clause in the NDA. 571 U.S.

49, 63 (2013). Medallia further contends that Atlantic requires the Court to

disregard any private factor considerations that EchoSpan may raise in opposition

to transfer (e.g., convenience) and permits the Court to deny transfer only in

exceptional cases involving public policy concerns. Medallia concludes that

EchoSpan cannot show any exceptional reason that would defeat the NDA’s forum

selection clause and the required transfer.

      EchoSpan responds that Medallia’s Motion should be denied because

EchoSpan’s Terms and Conditions agreement (“TCA”), which Medallia agreed to

before the Trial Period began, designates Georgia as the appropriate forum for this

dispute. The TCA provides that “[a]ny dispute in connection with [its terms] . . .

shall be submitted to confidential arbitration in Atlanta, Georgia, USA, except that

. . . the party seeking relief may seek injunctive or other appropriate relief” in state

or federal court in Georgia. ECF No. 10-3 at 1, § 1.


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      EchoSpan argues that since the TCA’s forum selection clause conflicts with

the NDA’s clause, the Court must look at the specific facts of this case to

determine which clause to enforce. In EchoSpan’s view, the TCA, which directly

establishes the terms of Medallia’s access to EchoSpan’s confidential information,

has the strongest connection to EchoSpan’s claims and should take precedence

over the NDA, whose subject matter is merely the “possible exploration of an

acquisition . . . involving Medallia and EchoSpan.” ECF No. 18-1 at 7.

      EchoSpan also maintains that the TCA should govern because it was the

only agreement in place when Medallia initially gained access to EchoSpan’s

information during the Trial Period. EchoSpan asserts that because the later

executed NDA expressly excludes information in the parties’ possession before the

NDA went into effect, the information Medallia acquired during the Trial Period is

covered only by the TCA, and the TCA provides the exclusive remedy for

Medallia’s alleged misappropriation of information obtained during that period.

      Additionally, EchoSpan contends that the TCA’s forum selection clause

should apply because “a principal focus” of this case is Medallia’s allegedly

improper use of EchoSpan’s proprietary information obtained during the Trial

Period when the TCA was in effect. EchoSpan explains that Medallia obtained the

“most critical information” necessary to reverse engineer EchoSpan’s Feedback


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Tool during this time. However, the record does not reflect (and it is likely

impossible to know at this early stage of the litigation) the specific insight Medallia

obtained during the Trial Period versus during the NDA Period.

      Finally, EchoSpan asserts that the forum selection clause in the NDA should

not be enforced because the NDA was procured by fraud. EchoSpan believes that

Medallia had no intention of entering into a transaction with EchoSpan when it

executed the NDA, and it did so only to gain further access to EchoSpan’s

confidential information. As support for this point, EchoSpan points to a

conversation with “a senior Medallia executive,” the contents of which Medallia

disputes.

      II.    ANALYSIS

      “For the convenience of parties and witnesses, in the interest of justice, a

district court may transfer any civil action to any other district or division where it

might have been brought.” § 1404(a). As the Supreme Court explained in

Atlantic, “[i]n the typical case not involving a forum-selection clause, a district

court considering a § 1404(a) motion . . . must evaluate both the convenience of

the parties and various public-interest considerations.” 571 U.S. at 62. The court

is required to “weigh the relevant factors and decide whether, on balance, a transfer




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would serve ‘the convenience of parties and witnesses’ and otherwise promote ‘the

interest of justice.’” Id. at 62-63 (citation omitted).

      However, “when the parties’ contract contains a valid forum-selection

clause, which represents the parties’ agreement as to the most proper forum[,]” it

“should be given controlling weight in all but the most exceptional cases.” Id.

“The enforcement of valid forum-selection clauses, bargained for by the parties,

protects their legitimate expectations and furthers vital interests of the justice

system.” Id. at 63. Therefore, the plaintiff’s choice of forum is accorded no

weight, and the burden is placed on the party opposing the transfer to show that

transfer to the bargained-for forum is unwarranted. Id.

      The court also does not consider any arguments regarding the parties’

private interests because by agreeing to a forum-selection clause, the parties are

deemed to have waived the right to argue that such forum is inconvenient or less

convenient. Id. at 64. In other words, the district court may consider only

arguments relating to the public interest factors. Those factors include “‘the

administrative difficulties flowing from court congestion; the local interest in

having localized controversies decided at home; [and] the interest in having the

trial of a diversity case in a forum that is at home with the law.’” Id. at 63 n.6

(citation omitted).


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      Even then, “those factors will rarely defeat a transfer motion” where the

underlying agreement identifies the transferee forum as the proper place for the

action. Id. at 64. In sum, a district court may refuse to transfer a case

notwithstanding the counterweight of a forum-selection clause only in “unusual” or

“exceptional” cases. Id. at 64.

      The Court first addresses the question of which of the two competing forum

selection clauses should be enforced.

      The NDA, which Medallia argues is the relevant agreement, contains a

merger clause that explicitly “supersedes all prior discussions and writings”

regarding “the subject matter” of the NDA. ECF No. 14-2, ¶ 13. The Court

interprets this clause as a clear indication that the parties intended the later-

executed NDA to replace any prior agreements and govern the parties’ relationship

as it relates to the exchange of confidential information and the selection of a

forum to resolve disputes. See Drax Biomass, Inc. v. Lamb, No. 1:20-CV-04727-

SDG, 2021 WL 1439932, at *5 (N.D. Ga. Apr. 16, 2021) (stating that when faced

with differing forum selection clauses in competing agreements, courts focus on

whether “the later agreement contains a merger clause that designates it as the

document that fully embodies the parties’ rights and obligations”). Therefore, the

forum selection clause in the NDA identifying California as the proper forum for


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this dispute governs. See id. (enforcing the forum selection clause in the later

agreement because that agreement contained an “explicit merger clause,” which

provided that the agreement “‘supersede[d] any prior agreements or understandings

made by the parties’”).

      The Court is not persuaded by EchoSpan’s arguments for disregarding the

forum selection clause in the NDA in favor of the earlier-executed TCA. First,

EchoSpan’s position that the NDA does not apply because its “subject matter” is a

potential merger transaction, not the parties’ confidential information, is contrary

to the plain terms of the NDA. The majority of the paragraphs in the NDA pertains

to the parties’ confidential information, including a definition of Confidential

Information, terms of its disclosure, the length of the confidentiality period, return

or destruction of confidential information, the nature of proprietary rights, etc.

ECF No. 14-2, ¶¶ 1-7. Indeed, the NDA contains only two brief references to a

potential transaction.

      Second, EchoSpan’s argument that the NDA does not cover information

EchoSpan provided during the Trial Period and therefore would not provide a

remedy for Medallia’s alleged misappropriation of such information is without

merit. The NDA’s exclusion language pertains to information in Medallia’s

possession that it acquired “before receipt” of EchoSpan’s confidential


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information. Id. ¶ 5 (emphasis added). In other words, the NDA excludes only

information Medallia already had in its possession before EchoSpan shared its

confidential information. As Medallia points out, this is a common provision in

non-disclosure agreements, and it makes sense that no liability would attach for use

of information that was already in a party’s possession.

      Since the information EchoSpan shared during the Trial Period was

allegedly new to Medallia and not previously in its possession, such information is

not excluded from the NDA’s reach. In sum, the merger clause brings into the

NDA’s ambit new information EchoSpan provided to Medallia during the Trial

and NDA Periods, notwithstanding that the NDA was executed after the Trial

Period ended. Therefore, enforcing the NDA would not deprive EchoSpan of a

remedy.

      But even if the Court were to find that the NDA covered only the

information provided during the NDA period, and the TCA covered the

information provided during the Trial Period, EchoSpan has not provided facts that

would allow the Court to identify the specific information protected by the TCA

versus the information protected by the NDA. EchoSpan’s bare allegation that

Medallia had acquired “critical information” by the end of the Trial Period does

not provide a basis upon which to make this determination.


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      To the extent such determination were possible, EchoSpan, itself, recognizes

and wishes to avoid the waste of resources, among other disadvantages, that would

result in litigating part of its claims under the TCA in Georgia and the remaining

claims under the NDA in California. Thus, the Court sees no reason to apply an

artificial distinction to the claims based on the period during which the information

was acquired.

      Third, EchoSpan’s contention that the Court should enforce the TCA

because it governs the Trial Period, which has a stronger connection to the dispute,

is at odds with the allegations in the Complaint. The Complaint asserts that

EchoSpan also provided detailed confidential information to Medallia during the

NDA period that Medallia improperly used to compete with EchoSpan. Those

allegations undercut EchoSpan’s framing of its claims as largely relating to

information obtained during the Trial Period. Given that allegations relating to the

NDA Period are incorporated into all counts of the Complaint, they would appear

to be at least as important as the allegations relating to the Trial Period.

      Importantly, the Complaint’s careful avoidance of reference to the NDA

does not diminish the NDA’s importance. The Court’s focus is on the substance of

the claims, not the form. See Infectious Disease Sols., PC v. Synamed, No. 1:07-

cv-0211, 2007 WL 2454093, at *2 n.2 (N.D. Ga. Aug. 23, 2007) (stating that “‘[i]f


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forum selection clauses are to be enforced as a matter of public policy, that same

public policy requires that they not be defeated by artful pleading of claims’”);

Oribe Hair Care, LLC v. Canales, No. 17-CV-20148, 2017 WL 2059582, at *4

(S.D. Fla. May 15, 2017) (declining to “accept the invitation to reward attempts to

evade enforcement of forum selection agreements through artful pleading”)

(internal punctuation omitted). As such, there is no basis upon which to conclude

that the TCA has a stronger connection to EchoSpan’s claims than the NDA.

      Finally, EchoSpan has not provided significant evidence to support its claim

that the NDA was procured by fraud. EchoSpan points to a conversation with “a

senior Medallia executive” as proof of its allegations, but Medallia disputes

EchoSpan’s description of the events. Therefore, the Court is left with competing

narratives regarding what occurred. That is simply not enough to invalidate the

NDA or its forum selection clause. See Don't Look Media LLC v. Fly Victor Ltd.,

999 F.3d 1284, 1297 (11th Cir. 2021) (stating that “[u]nder federal law, forum

selection clauses ‘are presumptively valid and enforceable unless the plaintiff

makes a strong showing that enforcement would be unfair or unreasonable under

the circumstances’”) (quoting Rucker v. Oasis Legal Fin., L.L.C., 632 F.3d 1231,

1235 (11th Cir. 2011)).




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      Further, as the Eleventh Circuit Court of Appeals explained in Don’t Look,

the fraud exception applies when the inclusion of the forum selection clause in the

contract “was the product of fraud or coercion.” Id. at 1298. Since EchoSpan’s

argument is rather that the NDA, itself, was procured by fraud, the fraud exception

does not apply.

      For all these reasons, the Court finds that the forum selection clause of the

NDA governs this dispute.

      The Court next determines whether there is any reason to disregard the

NDA’s forum selection clause. As set forth above, the Court may consider only

arguments relating to the public interest factors.

      While EchoSpan points to evidence that the Northern District of California

has a heavy case load, those facts do not demonstrate a “‘strong showing that

enforcement would be unfair or unreasonable under the circumstances.’” Krenkel

v. Kerzner Int’l Hotels Ltd., 579 F.3d 1279, 1281 (11th Cir. 2009) (emphasis

added) (citation omitted). This is necessary to overcome the well-settled policy

that “forum-selection clauses are ‘presumptively valid and enforceable.’” Id.

      The Court also notes that district courts are eminently capable of applying

the law of states other than the one in which they sit, so the state law applicable to




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this case—whether Georgia or California—is not a reason to deny or grant transfer

here.

        This case is also not the type of localized controversy that is better addressed

in Georgia versus in California. It involves two sophisticated companies located in

Georgia and California that engaged in an arms-length transaction.

        In sum, EchoSpan has not carried its burden to show that the public interest

factors overcome the presumption that the California forum selection clause is

enforceable.

        Based on the foregoing analysis, the Court finds that transfer of this case to

the Northern District of California, San Jose Division is appropriate. Accordingly,

Medallia’s Motion to Transfer (ECF No. 13) is GRANTED.

        The Clerk is DIRECTED to transfer the case to the Northern District of

California, San Jose Division.

        SO ORDERED this 7th day of February, 2022.




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